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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION




UNITED STATES OF AMERICA,

              Plaintiff,
                                                        CASE NO. 1:96-CR-84
v.
                                                        HON. ROBERT HOLMES BELL
SAMMY DYER,

              Defendant.
                                   /


                      MEMORANDUM OPINION AND ORDER

        This matter is before the Court on defendant’s Motion for Modification or Reduction

of Sentence arising from Amendments 706 and 711 of the United States Sentencing

Guidelines pursuant to 18 U.S.C. §3582(c)(2) (docket #611).          Based on a review of

defendant’s motion, the Sentence Modification Report, submissions by counsel on behalf of

the defendant and the government, and the original criminal file, the Court has determined

that the motion should be denied for the following reason(s):

        The quantity of drugs attributable to defendant at the time of sentencing exceeded

4,500 grams. Accordingly, defendant is not eligible to receive a sentence reduction pursuant

to 18 U.S.C. 3582(c)(2).




Date:    November 4, 2011                 /s/ Robert Holmes Bell
                                          ROBERT HOLMES BELL
                                          UNITED STATES DISTRICT JUDGE
